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UNITED STATES DISTRICT COURT                            SOUTHERN DISTRICT OF TEXAS



UNITED STATES OF AMERICA,                      §
                                               §
                        Plaintiff,             §
                                               §
versus                                         §            CRIMINAL ACTION H-01-704-12
                                               §
RACHEL VALLEJO ,                               §
                                               §
                        Defendant.             §
                                               §

                                         Opinion

         Rachel Vallejo moves again to reduce her sentence (496). Again, she does not
explain why her sentence should be changed.
         Since the adoption of the Constitution in 1789, judges have determined by a
preponderance of the evidence the facts that are used to assess the particular sentence
within the statutory range for the crime. Using these sentencing facts to arrive at a
guideline would not change their character as long as the resulting sentence – not
calculation – is within the statutory range.
         Vallejo was found guilty on one count. The count has a range of punishment
from twenty years to life. She was sentenced to 97 months. The sentence is below the
statutory range.
         Her claim is late, even if it were supported by facts. Booker does not extend
Vallejo’s period of limitations; her sentence was below the minimum guideline, not
greater than the maximum.
         Her petition for relief from all or part of her sentence will be denied.


         Signed January 24, 2006, at Houston, Texas.




                                       ______________________________________
                                                   Lynn N. Hughes
                                              United States District Judge
